












Dismissed and
Memorandum Opinion filed August 12, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-89-01163-CV

____________

&nbsp;

JACK D. NOLAN, Appellant

&nbsp;

V.

&nbsp;

EDWARD J. PURCELL, Appellee

&nbsp;

&nbsp;

&nbsp;

&nbsp;



On Appeal from the 215th District Court

Harris County, Texas

Trial Court Cause No. 85-55913

&nbsp;

&nbsp;

&nbsp;



MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an appeal from a judgment signed August 28, 1989.&nbsp; On
April 19, 1990, this court abated the appeal because appellant, Jack D.
Nolan, petitioned for voluntary bankruptcy in the United States Bankruptcy
Court for the Southern District of Texas, under cause number 90-00303-C-7.&nbsp; See
Tex. R. App. P. 8.2.&nbsp; This appeal
has been abated and treated as a closed case since August 28, 1989.&nbsp; The court
has not been advised that any party wishes to reinstate the appeal.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On July 8, 2010, this court notified the parties that unless
any party to the appeal filed a motion demonstrating good cause to retain the
appeal on or before July 23, 2010, this appeal would be dismissed for want of
prosecution.&nbsp; See Tex. R. App. P. 42.3(b).&nbsp; No response was filed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Brown.





